             Case 3:06-cr-05528-BHS        Document 73      Filed 11/15/06    Page 1 of 2



 1                                                            Judge Franklin D. Burgess
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 7
                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 9

10   UNITED STATES OF AMERICA,                 )
                                               )        NO. CR06-5528FDB
11                        Plaintiff,           )
                                               )        ORDER
12                                             )        GRANTING STIPULATED
                   v.                          )        MOTION TO CONTINUE
13                                             )        PRETRIAL MOTIONS
     ALEX M. BLUM, et al,                      )        DEADLINE
14                                             )
                          Defendants.          )
15                                                 )
16          Upon the stipulation of the parties to continue the pretrial motions deadline in the
17   above-captioned case, and based upon the facts set forth in the parties’ motion, the Court
18   finds that such a continuance is appropriate and
19   //
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //

      [PROPOSED] ORDER GRANTING STIPULATED MOTION TO CONTINUE                      UNITED STATES ATTORNEY
                                                                                   1201 Pacific Avenue, Suite 700
      U.S. v. Blum, et al/CR06-5528FDB - 1                                          Tacoma, Washington 98402
                                                                                          (253) 428-3800
            Case 3:06-cr-05528-BHS       Document 73    Filed 11/15/06   Page 2 of 2



 1   IT IS HEREBY ORDERED that the pretrial motions deadline be continued to November
 2   27, 2006.
 3         DATED this 15th day of November, 2006.
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 9                                            HON. FRANKLIN D. BURGESS
10                                            United States District Judge
11
     Presented by:
12

13

14   s/ Michael Dion
15
     MICHAEL DION
     Assistant United States Attorney
16

17

18
     s/ Amanda Lee (per telephonic Auth.)
     AMANDA LEE
19   Attorney for Alex M. Blum
20

21
     s/ Colin Fieman (per telephonic Auth.)
22   COLIN FIEMAN
     Attorney for Chad W. Palmer
23

24

25   s/ Michael E. Schwartz (per telephonic Auth.)
     MICHAEL E. SCHWARTZ
26
     Attorney for Tigra Robertson
27

28


     [PROPOSED] ORDER GRANTING STIPULATED MOTION TO CONTINUE                 UNITED STATES ATTORNEY
                                                                             1201 Pacific Avenue, Suite 700
     U.S. v. Blum, et al/CR06-5528FDB - 2                                     Tacoma, Washington 98402
                                                                                    (253) 428-3800
